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                 EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN

This Document Relates to:

Boyer v. Weyerhaeuser Company, et al.                                    CASE NO. 14-cv-286
Masephol v. Weyerhaeuser Company, et al.                                 CASE NO. 14-cv-186
Pecher v. Weyerhaeuser Company, et al.                                   CASE NO. 14-cv-147
Sydow v. Weyerhaeuser Company, et al.                                    CASE NO. 14-cv-219

                     DECLARATION OF JAMES S. JOHNSON PhD, CIH, QEP
                     IN REBUTTAL TO THE SECOND WEBER AFFIDAVIT

                I, JAMES S. JOHNSON PhD, CIH, QEP, declare as follows:

                1.      My background, education, work history and qualifications have been set

forth in earlier declarations in this case.

                2.      I have been asked to address the Second Affidavit of Robert Webber dated

September 17, 2015. All paragraph references below are to the Second Weber Affidavit.

                3.      Mr. Weber’s inferred conclusion noted in paragraph 3c thereof is that

increased pressure drop does not increase face seal leakage. I disagree. The Janssen/Weber

article he coauthored (Exhibit A thereto) was narrowly designed to demonstrate what is a given:

i.e., respirators that fit well do not show significant face seal leakage with increased pressure

drop. This Janssen/Weber study was a follow on to an earlier Nelson Colton study that

demonstrated an increase in facial leak rate was observed with increasing breathing resistance

during routine use of air purifying half mask respirators. The Nelson Colton study differed from

the Janssen/Weber study (exhibit A) by selecting experienced respirator users but did not first

pre-screen them for acceptable respirator fit which quite expectedly produced different results;

increased breathing resistance can cause an increase in face seal leakage by measuring the effect

of filter loading on air flow resistance of used HEPA filters collected from a battery

manufacturing plant. Unfortunately the Janssen/Weber study did not follow the experimental
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design of the Nelson/Colton study but changed it, thus resulting in a conclusion that is quite

obvious.

               4.      Another important point to make is neither study was on the 3M 8710

respirator. Rather both studies tested a completely different type of respirator. Specifically, both

Nelson/Colton and Janssen/Weber (exhibit A to Weber’s Second Affidavit) evaluated half mask

respirators which had flexible elastomeric sealing surfaces. This is completely different from the

3M 8710 respirator facial sealing surface which is made from the rigid support material and filter

media heat sealed together which makes it more susceptible to facial leakage.

               5.      In paragraph 4 Mr. Weber comments very narrowly on Plaintiffs Exhibit

25, which was an internal 3M memo dated June 24, 1975. 3M internally reported in this memo

that the 3M 8710 received a protection factor of 3, the Wilson 1400 of 10 and the newly

designed 8710H of 8. This information demonstrates that the as of June 1975 the 3M 8710

respirator was performing poorly in laboratory tests on people. Weber tries to downplay the

statement in Exhibit 25 that “This compares to about a 3 on the current #8710” and comparing

this low protection factor of the 8710 to the “protection factor of nearly 10” for the Wilson 1400

Respirator. Weber attempts to downplay this admission by 3M that its 8710 had a protection

factor of “about a 3” by stating: “the lab study … used sodium chloride to measure … leakage.”

However, no documentation is provided to support this assertion of using sodium chloride. The

major part of Exhibit 25 is a comparison of NIOSH approval parameters of the 3M 8710 to its

competitor the Wilson Model 1400. Clearly as noted in Exhibit 25, the Wilson 1400 respirator is

a formidable competitor that meets the initial and final pressure requirements of the silica dust

test that the 3M 8710 respirator couldn’t meet. Exhibit 25 also comments that the proposed

#8710H (which was under development) would equal the current Wilson 1400 in silica dust test




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performance. However, 3M 8710H was not able to achieve this performance. The 8710H was

never approved by NIOSH and never sold.

               6.     Mr. Weber notes in paragraph 5 that numerous workplace studies have

been done on the 3M 8710 respirator but only provides one example (the 1977 Shenango

foundry study) that was done in the 1970s, ie, the time frame relevant to these plaintiff cases. No

documentation is provided on this 1977 Shenango study, neither the actual study nor even

excerpts of the data results are provided. Moreover, I have not been able to find any published

report of this 1977 Shenango study to properly evaluate or comment on it. The other studies

noted by Weber are identified as done in 1984 which would have tested a different 3M 8710

respirator containing the Omega web. Thus the studies in the 1980s are irrelevant to the 8710

respirator that was sold in the 1970s and thus worn by the plaintiffs herein which did not have an

Omega web. Finally, as best as I can determine none of these studies mentioned in paragraphs 5

and 6 were peer-reviewed and none were conducted by NIOSH or another Governmental agency.

               7.     In his paragraph 6 Mr. Weber focuses on workplace protection factor

studies involving the 3M 8710 respirator that OSHA used to set the APF for half mask

respirators. This argument is a red herring. NIOSH is the agency that is charged with certifying

respirators, including the 3M 8710 in the 1970s, not OSHA. Mr. Weber doesn’t address (1) the

regulatory requirements of NIOSH which are totally separate from OSHA and (2) the regulations

NIOSH follows to approve respirators like the 3M 8710 respirator. The NIOSH requirements are

promulgated to assure that respirator manufacturers like 3M consistently produce an approved

respirator that meets these respirator performance standards. At issue in these cases are 3M’s

manufacture of the 3M 8710 respirator that clearly didn’t meet the required NIOSH certification

requirements of inhalation and exhalation pressure drop due to moisture condensation and the




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